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                                         IN 1HE UNITED STAlES DISTRICT COURT
                                         FOR 1HE DISTRICT OF SOUTH CAROLINA

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                                                                                                            2:11-CV-2169-DCN-BM
                                                                                           Civil Action NO. __      \_/f_:0-:,:-C_L-;-[-;-::--::<:;;3_C;-:';::- FI CE
      [Enter thefulNrame ofthe plain/ijfinthis action]                                 )
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                                                                                       )                    COMPLAINT
      v.                                                                               )                       State Pi3s!)tfrT1\      :J     eTC 0 LA, SC
       AL                                                                              )
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      I.   PREVIOUS LAWSUITS

           A. Have you begun other lawsuits in state or fedeml court dealing with the same facts involved in this action or
              otherwise related to your imprisonment?                            Yes '.                     No ~

           B. (fyour answer to A is Yes, describe the lawsuit in the space below. If there is more than one lawsuit, describe the
                additional lawsuits on another piece ofpaper using the same outline.                                                            ..
                1.     Parties to this previous lawsuit:

                       Pla[ntiff: _ _ _ _ _ _ _ _                      -.:.IJ-=- ;.hL~.: . . _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                            I
                       Defendant(s),:...:_ _ _ _ _ _ _ _ _ _ _ _--;-_ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                2. Court:                                                       ;Jilt
                                       (Iffoderal court, name the districl; i/stdte court, name the county)

                3. Docket Number:                                                   tilt
                4. Name(s) of Judge(s) to whom case was assigned:                                 ,
                5. Disposition:                   IV lit
                                        (For example. was the case dismissed? Appealed? Pending?)

                6. Approximate date of filing lawsuit:       _--'-'fJ~hJ..A-'-------~---------- ____
                7. Approximate date of disposition:                ,flft
                                                                     I




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n.   PLACE OF PRESENT CONFINEMENT

     A. NameofPrisonlJaHlInstitution:        &        {:l/v;t!t'!I JeieN/;CN (;~hr
     B. What are the issues that you are attempting to litigate in the above--captioned case?     fJc/J¢'
               U/J/;L/;(I~ {Ii' ((ljvs.J;frill;:/V~tl IIfl!l:r
                                                 .                              CJ
     C. 0)       Is there a prisoner grievance procedure in tbis institution?        Yes   ~      No,-__

         (7)     Did you file a grievance concerning the claims you are raising in this matter?    Ycs_ __        No    ~
                 Wb~,  ______________________ Grievance Number (if available) _ _ _ _ _ _ _ _ _- - ­

     D. Have you received a final ag~cy/departmentallinstitutional answer or determination concerning tbis matter (i.e., your
        grievance)?           Yes              No                ~ .
     E. When was the final     ag~cy/departmentallinstitutional   answer or determination received by you? _________

         l/possible. please attach a copy ofyour grievance and a copy ofthe highest level decision concerlling your grievance
         that you have received

     F. If there is no prison grievance procedures in this institution,                    IV/ANo,_ __
                                                                                     Yes_ __
        did you complain to prison, jail, or institutional authorities?

     G. If your answer is YES:
          1.                                                    tJ
                 What steps did you take1:-.-_ _ _ _ _.l..:lI-4!...J.A..l..-_ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                     I
         2.      Wbat was the result?,________________________________


III. PARTIES

     In Item A be/ow, place your name, inmate number. and address in the space provided. Do the same for additional plaintiffs.
     ifany.

     A. Name of PlaintitT:       H. c./c:.J'/d S· de,J
                                                     (Jl{            Inmate No.: / J / 0 ;;lJ'~.
                                         v                  .

         Address:    /I. C. (), (. J 8'1/ LeeciJ Ih/e.· I!/. ('I;Arleflo~6.{}(" Jjrtf-S­              ;




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IV. STATEMENT OF CLAIM

   Stale here, as briefly as possible. the facts ofyour case. Describe how each defendant is involved Include also the
   names ofother persons involved, dates, andplaces. Do not give any legal arguments or cite any cases or statutes.
   Ifyou Intend to allege a number ofrelated claims. number and set forth each claim in a separate paragraph. Use as
   much space as you need. Attach an exira sheet if neCessary.
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IV. STATEMENT OF CLAIM - continued. ­
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V.    RELIEF

      State briefly and exactly 'What you 'Want the court to dofor you.

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     -I declare under penalty of perjury that the foregoiog is true and correct•

     . Signedthis _ _ _ _ dayOf_~~-
                                 ~,(k~11.l"L.·J·----L.J/3~-~_-------" 20                                             II

                                                               j"'f~
                                                              Signature afPlaintiff




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